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FOR THE WESTERN DISTRICT OF TENNESSEE

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DAvn) BiLEs,
Piainarr,
vs. No. 04-1169_T/An

QUENToN leTE, et ai.,

Defendants.

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ORDER DISMISSING UNEXHAUSTED CLAIMS AGAINST
DEFENDANTS HUMPHRIES AND DOTSON WITHOUT PREJUDICE
ORDER GRANTING MOTION TO DISMISS FILED BY
DEFENDANTS WHITE, KEELING, AND HOLLAND ON REMAINING CLAIMS
ORDER CERTIFYING APPEA;“N%OT TAKEN IN GOOD FAITH
ORDER ASSESSING APPELLATE FlLING FEE

 

Plaintiff, David Biles, Tennessee Department ofCorrection (TDOC) inmate number
277934, an inmate at the Northeast Correctional Cornplex (NECX), who was formerly
incarcerated at the Charles Bass Correctional Complex (CBCX)] and the Whiteville
Correctional Facility (WCF), filed this p_r_Q g eomplaint under 42 U.S.C. § 1983, against
Tennessee Department of Correction (TDOC) Commissioner Quenton White, CBCX
Warden Flora Holland, CBCX Classiflcation Coordinator George Keeling, WCF
Classification Coordinator Rick Humphries, and WCF Warden Steven Dotson.

Biles alleged that he appealed a CBCX classification team decision to transfer him
to the WCF in December of 2002. Biles alleged that he notified Warden Holland that he had
problems with WCF inmate Carlos Futrell and Futrell’s gang He alleged that he was
transferred to WCF before his appeal was resolvedl Biles states that he wrote several Inmate

Request Forms in attempts to speak with counselors at WCF about the threat to his safety,

 

1 CBCX was known as the Middle Tcnnessee Correctional Complex in December 2002 and June 2003.

This document entered on the docket sheet in compliance

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however, his requests were never answered Biles alleges that he Was attacked by Inmate
Futrell and four other gang members on July 28, 2003, and sustained severe injuries Biles
further alleges that Warden Holland took six months to deny his appeal.

On February 3, 2005, the Court dismissed Biles’ claims against a Jane Doe defendant
and directed that service issue for the other defendants As an initial matter, the Court has
reviewed the record and determined that defendant Rick Humphries has not been served
Plaintiff filed this complaint on July 28, 2004. Service was attempted and the documents
returned on February 24, 2005 unexecuted Plaintiff has not supplied the Clerk with any
additional information to assist the marshal with further attempts at service. Rule 4(m) of
the Federal Rules of Civil Procedure requires service to be made upon a defendant within
120 days after the Court directs that service issue.

The Court further notes that plaintiff has not alleged that defendant Humphries was
not responsible for or involved in the classification decision that resulted in his transfer to
WCF. Plaintiff does not allege that he filed any grievance during his incarceration against
Humphries for any reason. Accordingiy, Biles has not alleged or demonstrated that he
exhausted his administrative remedies on any claim against Humphries as required by
Knuckles El v. Toombs. 215 F.3d 640, 642 (6th Cir. 2000).

Accordingly, plannist claims against Humphries are dismissed without prejudice
due to plaintiff’ s failure to obtain service within 120 days and to exhaust administrative
remedies pursuant to 42 U.S.C. § l997e(a) and Brown v. Toombs, 139 F.3d l 102 (6th Cir.
1998).

On March 24, 2005, defendant Dotson filed a motion to dismiss, accompanied by a
memorandum in support On April l l, 2005, defendants White, Keeling, and Holland filed
a motion to dismiss, accompanied by a memorandum in support Plaintiff has not responded
to the defendantsl motions to dismiss Nevertheless, the initial complaint was verified in

compliance with 28 U.S.C. § 1746, and the allegations therein must be considered in

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determining whether to grant defendant’s motion to dismiss The bases for defendants’
motion for summary judgment are:
1. Plaintiff’s claims against defendant Dotson are unexhausted;

2. Plaintiff has failed to allege any action by defendants White or Keeling
in the decision to transfer him to WCF; and

3. Plaintiff"s claims againstdefendant Hollandmustbe dismissed because
her role was limited to denying Biles’ administrative appeal.

When considering a motion to dismiss, the Court must "treat all of the well-pleaded
allegations of the complaint as true." Miree v. DeKalb Countv, 433 U.S. 25, 27 n.l (1977).
See also Savlor v. Parker Seal Co., 975 F.2d 252, 254 (6th Cir. 1992). The Court must
construe all the allegations in the light most favorable to the plaintiff Scheuer v. Rhodes,
416 U.S. 232, 236 (1974). "A court may dismiss a complaint only ifit is clear that no relief
could be granted under any set of facts that could be proved consistent with the allegations."
Hishon v. King & Spaulding, 467 U.S. 69, 73 (1984). lt must appear beyond doubt that the
plaintiff can prove no set of facts in support of his claim that would entitle him to relief.
Conley v. Gibson, 355 U.S. 41, 45-46 (1957).

Biles has not alleged that defendant Dotson was not responsible for or involved in
the classification decision that resulted in his transfer to WCF. Plaintiff does not allege that
Dotson had any knowledge that he was in danger while at WCF or that he filed any
grievance during his incarceration which named Dotson for any act or failure to act which
resulted in the attack and his injuries

State prisoners who desire to bring civil rights claims are required to exhaust all
available administrative remedies prior to filing suit in federal court. 42 U.S.C. § 1997e(a);
Lavista v. Beeler, 195 F.3d 254, 256 (6th Cir. 1999). The prisoner has the burden of
demonstrating that he has exhausted these remedies Brown v. Toombs, 139 F.3d at 1104.

"A plaintiff who fails to allege exhaustion of administrative remedies through

‘particularized averments’ does not state a claim on which relief may be granted, and his

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complaint must be dismissed B sponte." Baxter v. Rose, 305 F.3d 486, 489 (6“‘ Cir. 2002).
Accordingly, the Court DISMISSES plaintiff’s claims against defendant Dotson, without
prejudice, pursuant to 42 U.S.C. § l997e(a).

The mere fact that a defendant is in a position of authority does not allow imposition
of liability against him. There is no respondeat superior liability under § 1983. S_ee_ M
v. Dep’t ofSoc. Servs., 436 U.S. 658, 691, (1978); Copeland v. Machulis, 57 F.3d 476, 481
(6th Cir. 1995); Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir. l984)(liability under §
1983 in a defendant's personal capacity must be predicated upon some showing of direct,
active participation in the alleged misconduct); Jones v. Citv of Memphis, 586 F.Zd 622,
624-25 (6th Cir. 1978).

In order for supervisory liability to attach, a plaintiff must prove that the official "did
more than play a passive role in the alleged violation or showed mere tacit approval of the
goings on." Bass v. Robinson, 167 F.3d 1041, 1048 (6th Cir. 1999)(citations omitted). A
plaintiff must show that the official "eithcr encouraged the specific incident of misconduct
or in some other way directly participated in it." Sheehee v. Luttrell, 199 F.3d 295, 300(6th
Cir. 1999)(citations and quotations omitted). At the very least, "a plaintiff must show that
the official implicitly authorized, approved, or knowingly acquiesced in the
unconstitutional conduct of the offending officers." I_d._

Biles’ only allegation against defendant White states that White is the TDOC
Commissioner. He alleges that defendant Keeling, as classification coordinator, was
responsible for classifying and sending inmates to other prisons Biles fails to allege that
either defendant White or Keelin g participated in the decision to classify and transfer him
to WCF or had any knowledge that plaintiff would be at risk of attack at WCF. Biles alleges
that defendant Holland, as Warden, is responsible for reviewing all classification appeals

and that she reviewed his appeal. However, he does not allege that any of these three

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defendants participated in or authorized the decisions and actions from which his grievance
arose. Bellaniy v. Bradley, 729 F. 2d at 421.

Defendants White and Keeling cannot be held liable on the basis of their positions
within the TDOC or at CBCX, respectively There is no respondeat YM liability under
§ 1983. Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir. 1984). Instead,

[t]here must be a showing that the supervisor encouraged the specific instance

of misconduct or in some other way directly participated in it. At a minimum,

a § 1983 laintiff must show that a supervisory official at least implicitly

authorize ,a proved or knowingly acquiesced in the unconstitutional conduct

of the offen ing subordinates
l_d. (citation omitted).

The complaint is devoid of allegations that defendants White and Keelin g "at least
implicitly authorized, approved or knowingly acquiesced in the unconstitutional conduct of
the offending subordinates," ML 729 F.2d at 42 l, or that the allegedly unconstitutional
conduct described in the complaint was the direct result of either defendant's failure to
perform a function he was legally obligated to perform, Doe v. Claiborne Countv.
Tennessee, 103 F.3d 495, 511-12 (6th Cir. 1996). Accordingly, even ifit is assumed that the
plaintiff was subjected to any unconstitutional conduct during the reclassification and
transfer determination, defendants White and Keelin g are not liable to the plaintiff

Furthermore, Holland’s only participation in the events alleged in this complaint is
her denial of the appeal of Biles’ grievance. The denial of the appeal of a prisoner’s
grievance cannot in itself constitute sufficient personal involvement to state a claim of
constitutional dimension. Simpson v. Overton, 79 Fed. Appx. 117, 2003 WL 22435653 (6th
Cir. 2003); see ali Martin v. Harvey, 14 Fed. Appx. 307, 2001 WL 669983, at *2 (6"‘ Cir.
2001)(“The denial of the grievance is not the same as the denial of a request to receive

medical care."). Moreover, § 1983 liability may not be imposed against the defendants for

"a mere failure to act" based upon information contained in the grievance Y Shehee v.

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L_uttr_ell, 199 F.3d 295, 300 (6th Cir. 1999); Lillard v. Shelbv Countv Bd. of Educ., 76 F.3d
716, 727-28 (6th Cir. 1996).

Accordingly, plaintiff fails to state a claim against White, Keeling, and Holland upon
which relief may be granted Those defendants’ motion to dismiss is GRANTED and the
claims DISMIS SED pursuant to Rule l2(b)(6) of the Federal Rules of Civil Procedure and
28 U.S.C. § 1915(e)(2)(B)(ii).

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision i_n w Lupe_ris. Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken i_n forma pali_pe_ri_s_ if the trial court certifies in writing that it is not taken in good

faith.

 

The good faith standard is an objective one. ConDedge v. United States, 369 U.S.
43 8, 445 (1962). Accordingly, with regard to the claims dismissed for want of exhaustion,
any appeal of those claims would be subject to immediate dismissal Accordingly, plaintiff
would not yet be able to present those issues in good faith on appeal, and thus any appeal
of those claims would be frivolous ln this case, for the reasons expressed above, there is
no genuine issue of material fact that the remainder of plaintiffs claims fail to state a claim
upon which relief can be granted As reasonable jurists could not differ regarding this
conclusion, the Court concludes that an appeal of the dismissal of those issues would also
be frivolous _

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 19 15(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith, and plaintiff may not proceed on appeal i_r_i_
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The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal of this case. The United States Court of Appeals for the Sixth Circuit has held
that a certification that an appeal is not taken in good faith does not affect an indigent

prisoner plaintiffs ability to take advantage of the installment procedures contained in §

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1915(b). McGore v. Wrigglesworth, 114 F.3d 601, 610-ll (6th Cir. l997). McGore sets
out specific procedures for implementing the PLRA. Therefore, the plaintiff is instructed
that if he Wishes to take advantage of the installment procedures for paying the appellate

filing fee, he must comply with the procedures set out in McGore and § 1915(b).

 

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This notice confirms a copy of the document docketed as number 24 in
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K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

.lackson, TN 38305

Michael B. Schwegler

Office of the Attorney General
P.O. Box 20207

Nashville, TN 37202--020

David Biles

Northeast Correctional Complex
277934

P.O. Box 5000

Mountain City, TN 37683

.l ames l. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

.lackson, TN 38305

Honorable .l ames Todd
US DISTRICT COURT

